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 3   Telephone: (916) 447-9299
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 4

 5   Attorney for Defendant
     BROOK MURPHY
 6
                          UNITED STATES DISTRICT COURT
 7
                         EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,            No.   2:12-CR-0234-JAM
10
                   Plaintiff,             STIPULATION AND ORDER
11
          v.                              Sentencing:
12                                        Date: June 13, 2017
     BROOK MURPHY,                        Time: 9:15 a.m.
13                                        Hon. John A. Mendez
                   Defendant.
14

15

16
          Defendant BROOK MURPHY, by and through his attorney, John
17
     Balazs, and plaintiff, UNITED STATES OF AMERICA, by and through
18
     its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate
19
     to extend the sentencing schedule as follows:
20
          Sentencing:
21
          Draft PSR disclosed to counsel:                      June 13, 2017
22
          Informal objections to Draft PSR due:                June 27, 2017
23
          Final PSR due:                                       July 3, 2017
24
          Motion for Correction of PSR due:                    July 11, 2017
25
          Reply or Statement of Non-Opposition due:            July 18, 2017
26
          Judgement and Sentencing Date:                       July 25, 2017
27
                                                   at 9:15 a.m.
28
                                          1
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 2                    This request is made because the defendant needs
 3   additional time to provide information to the probation officer
 4   and to prepare for sentencing.
 5

 6   Dated: May 16, 2017                           PHILLIP A. TALBERT
                                                   United States Attorney
 7
                                                   /s/ Jason Hitt
 8                                                 JASON HITT
                                                   Assistant U.S. Attorney
 9
                                                   Attorney for Plaintiff
10                                                 UNITED STATES OF AMERICA
11   Dated:   May 16, 2017
12                                                 /s/ John Balazs
                                                   JOHN BALAZS
13
                                                   Attorney for Defendant
14                                                 BROOK MURPHY
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       Case 2:15-cr-00234-JAM Document 78 Filed 05/19/17 Page 3 of 3


 1                                      ORDER
 2        IT IS SO ORDERED.
 3

 4   Dated: May 18, 2017
 5                                     /s/ John A. Mendez________________
                                       HON. JOHN A. MENDEZ
 6                                     United States District Court Judge
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